          Case 2:17-cr-00297-APG-NJK              Document 32         Filed 05/01/18   Page 1 of 2




 1   SAO
     ROBERT M. DRASKOVICH, ESQ.
 2   Nevada Bar No. 6275
     TURCO & DRASKOVICH, LLP
 3   815 S. Casino Center Boulevard
     Las Vegas, Nevada 89101
 4   Telephone: (702) 474-4222
     Attorney for Defendant
 5

 6                                UNITED STATES DISTRICT COURT

 7                                        DISTRICT OF NEVADA

 8
     UNITED STATES OF AMERICA,                              CASE NO.: 2:17-CR-00297-APG-NJK
 9
                             Plaintiff,
10
     vs.                                                     STIPULATION AND ORDER
11   ROGER HERNANDEZ aka
     Keyden Alvarez,
12
                             Defendant.
13

14           IT IS HEREBY STIPULATED AND AGREED by and between ROBERT M.

15   DRASKOVICH, ESQ., counsel for Defendant ROGER HERNANDEZ aka Keyden Alvarez,

16   and ROBERT KNIEF, Assistant United States Attorney, counsel for Plaintiff, that Defendant is
     authorized to travel to Tampa Bay, Florida from May 10, 2018 through May 14, 2018 to visit
17
     his family.
18
             IT IS FURTHER STIPULATED AND AGREED that Defendant shall provide U.S.
19   Pretrial Services with his itinerary prior to traveling.
20           DATED this 1st day of May, 2018.

21           /s/ Robert M. Draskovich                           /s/ Robert Knief
             _______________________________                    _________________________________
22           ROBERT M. DRASKOVICH, ESQ.                          ROBERT KNIEF, ESQ.
             Nevada Bar No. 6275                                 Assistant United States Attorney
             815 S. Casino Center Boulevard                      333 Las Vegas Boulevard South #5000
23           Las Vegas, Nevada 89101                             Las Vegas, Nevada 89101
             Attorney for Defendant                              Attorney for Plaintiff
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          Case 2:17-cr-00297-APG-NJK              Document 32         Filed 05/01/18   Page 2 of 2




 1
                                                    ORDER
 2
             Upon stipulation of counsel and good cause appearing therefor,
 3
             IT IS HEREBY ORDERED that Defendant is authorized to travel to Tampa Bay,
 4
     Florida from May 10, 2018 through May 14, 2018 to visit his family.
 5           IT IS FURTHER STIPULATED AND AGREED that Defendant shall provide U.S.

 6   Pretrial Services with his itinerary prior to traveling.

 7
             DATED AND DONE this _____            May
                                  1st day of ___________________, 2018.
 8

 9                                                              __________________________________
                                                                UNITED STATES DISTRICT JUDGE
10
     Respectfully Submitted By:
11

12   /s/ Robert M. Draskovich
     __________________________
     Robert M. Draskovich, Esq.
13   Nevada Bar No. 6275
     Attorney for Defendant
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